                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:10-00243
                                                   )       JUDGE CAMPBELL
MARILYN GREENE                                     )

                                            ORDER

         Pending before the Court is Defendant Greene’s Motion to Join Motion to Suppress and

Memorandum in Support of Motion to Suppress of Co-Defendant Gerry Campbell (Docket No.

57). The Motion is GRANTED.

         It is so ORDERED.



                                                   _________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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